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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

DESHANDA CRUSSEL, as                                                                     PLAINTIFF
Next Friend and Custodial
Parent of J.C., a Minor

VS.                                   CASE NO. 06-CV-4042

ELECTROLUX HOME
PRODUCTS, INC., a Foreign Corporation                                                  DEFENDANT

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Deshanda Crussel brings this lawsuit as Next Friend and Custodial Parent of her

minor daughter, J.C., who sustained injuries en ventre sa mere, purportedly as the result of the

negligence of Defendant Electrolux Home Products, Inc. (“Electrolux”) in a workplace accident.

Before the Court is Defendant’s Motion for Summary Judgment. (Doc. 7). Plaintiff has responded.

(Doc. 28). Defendant has replied to Plaintiff’s response. (Doc. 35). Also before the Court is

Plaintiff’s First Motion to Strike Defendant’s Requests for Admissions. (Doc. 23). Defendant has

responded. (Doc. 32). The Court finds both motions ripe for consideration.

                                         I. BACKGROUND

        On July 19, 2004, Plaintiff Deshanda Crussel, pregnant with J.C., was involved in an on-the-

job accident at her place of employment, Electrolux Home Products, Inc., in DeQueen, Arkansas.

On that day, a forklift operating inside the Electrolux facility struck Crussel, causing the forklift’s

load to fall upon her and bury her underneath nearly 700 pounds of boxes. Crussel alleges that the

accident caused her severe internal injuries, and that she gave birth to J.C. prematurely as a result

of her injuries.

        Immediately after the accident, Crussel sought medical treatment from Electrolux’s company
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nurse, Jean Matthews, R.N. Crussel complained of, inter alia, a cut on her left ear and problems

with her left shoulder. Later that same day, Crussel sought medical attention at St. Michael’s

Hospital, where she received treatment for a contusion on her head and for a strain of her back.

        Roughly one (1) month after the accident, Crussel underwent emergency abdominal surgery

and had a Caesarean Section, resulting in the premature birth of J.C. Plaintiff alleges that J.C.’s

premature birth caused the child to suffer from numerous physical and mental ailments, which have

necessitated extensive medical treatment, rehabilitation efforts and educational assistance.

        Electrolux terminated Crussel on March 1, 2006 for poor work attendance. Plaintiff alleges

that J.C.’s premature birth also compromised the child’s immune system, causing Crussel to miss

work, which lead to her dismissal. In her Complaint, Crussel alleges that Electrolux failed to

exercise ordinary care in its operation of the forklift, and that such breach caused the injuries for

which this lawsuit seeks recovery. The case is now before the Court on Electrolux’s Motion for

Summary Judgment, and Crussel’s Motion to Strike Defendant’s Requests for Admissions.

                           II. SUMMARY JUDGMENT STANDARD

        The standard of review for summary judgment is well established. The Federal Rules of Civil

Procedure provide that when a party moves for summary judgment:

        The judgment sought shall be rendered forthwith if the pleadings, dispositions,
        answers to interrogatories, and admissions on file, together with affidavits, if any,
        show that there is no genuine issue as to any material fact and that the moving party
        is entitled to a judgment as a matter of law.

Fed. R. Civ. P. 56(c); Krenik v. County of LeSueur, 47 F.3d 953 (8th Cir. 1995). The Supreme Court

has issued the following guidelines for trial courts to determine whether this standard has been

satisfied:



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        The inquiry performed is the threshold inquiry of determining whether there is a need
        for trial–whether, in other words, there are genuine factual issues that properly can
        be resolved only by a finder of fact because they may reasonably be resolved in favor
        of either party.

Anderson v. Liberty Lobby, Inc., 447 U.S. 242, 250 (1986). See also Agristor Leasing v. Farrow,

826 F.2d 732 (8th Cir. 1987); Niagara of Wisconsin Paper Corp. v. Paper Indus. Union Management

Pension Fund, 800 F.2d 742, 746 (8th Cir. 1986). A fact is material only when its resolution affects

the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. at 248. A dispute is genuine if

the evidence is such that it could cause a reasonable jury to return a verdict for either party. Id. at

252.

        In resolving a motion for summary judgment, the Court must view the evidence and the

inferences that may be reasonably drawn from the evidence in the light most favorable to the

nonmoving party. Enterprise Bank v. Magna Bank, 92 F.3d 743, 747 (8th Cir. 1996). The moving

party bears the burden of showing that there is no genuine issue of material fact and that it is entitled

to judgment as a matter of law. Id. The nonmoving party must then demonstrate the existence of

specific facts in the record that create a genuine issue for trial. Krenik v. County of LeSueur, 47 F.3d

at 957. A party opposing a properly supported motion for summary judgment may not rest upon mere

allegations or denials, but must set forth specific facts showing that there is a genuine issue for trial.

Anderson v. Liberty Lobby, Inc., 477 U.S. at 256.

                                           III. DISCUSSION

        Electrolux seeks summary judgment on all of Crussel’s claims based on: (1) Crussel’s failure

to respond to Electrolux’s Requests for Admissions, which Electrolux contends have been deemed

admitted; (2) Crussel’s failure to plead a cause of action recognized by the courts of Arkansas; and



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(3) Crussel’s failure to offer evidence that the acts and/or omissions of Electrolux caused injury to

J.C. (Doc. 7-1, pg. 2). Electrolux’s Motion to Dismiss For Failure to State a Cause of Action (Doc.

9). presents more fully its position that Crussel has not plead a cause of action recognized in

Arkansas. For that reason, the Court will address the cause of action issue in its forthcoming ruling

on Electrolux’s Motion to Dismiss. The remaining grounds upon which Electrolux seeks summary

judgment will be addressed in turn.

A. Electrolux’s Requests for Admissions

        On September 27, 2006 Electrolux sent a set of discovery requests to Plaintiff’s counsel,

including interrogatories, requests for production of documents and requests for admissions to

Plaintiff.1 Fed. R. Civ. P. 36 governs requests for admissions, and provides in pertinent part:


        A party may serve upon any other party a written request for the admission, for the
        purposes of the pending action only, of the truth of any matters within the scope of
        Rule 26(b)(1) set forth in the request that relate to statements or opinions of fact or
        of the application of law to fact, including the genuineness of any documents
        described in the request. ... The matter is admitted unless, within 30 days after
        service of the request, or within such longer time as the court may allow or as the
        parties may agree to in writing, subject to Rule 29, the party to whom the request is
        directed serves upon the party requesting the admission a written answer or objection
        addressed to the matter, signed by the party or by the party's attorney.



Fed. R. Civ. P. 36(a). Upon a strict reading of this rule, Electrolux urges the Court to deem all

requested matters admitted, as a result of Crussel's undisputed failure to timely comply2 with the 30-

day response requirement. In support of this position, Electrolux relies on Hulsey v. Texas, 929 F.3d

        1
        Plaintiff, in her First Motion to Strike Defendant’s Request for Admissions objects to this
combined service of discovery as improper. The Court will address this issue in Part IV, infra.
        2
        Electrolux received Crussel’s untimely responses to the Request for Admissions on January 18,
2007. See Doc. 32, pg. 1; see also Doc. 32, Exhibit B.

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168, 171 (5th Cir. 1991). The Court finds this reliance misplaced. The pro se civil rights plaintiff

in Hulsey completely failed to respond to requests for admissions, timely or otherwise. Further, the

dismissal in Hulsey was, at least in part, for failure to prosecute. See id. at 170 (dismissing Hulsey’s

claims against the State of Texas with prejudice for want of prosecution). The Court also noted the

existence of “overwhelming evidence of lawful detention,” sufficient to defeat plaintiff’s claims as

a matter of law. Id. at 171. The result is that Hulsey is readily distinguishable from the situation

before the Court, and provides little guidance on the issue of Electrolux’s Requests for Admissions.

       However, as should be clear from a plain reading of the Rule, admissions which do not

receive a timely response may be deemed admitted upon a motion before the Court. See, Luick v.

Graybar Electric Co., Inc., 473 F.2d 1360, 1361- 62 (8th Cir.1973); Chess Music, Inc. v. Bowman,

474 F.Supp. 184, 185 (D. Neb.1979). In addition, Electrolux is correct that matters deemed admitted

pursuant to Rule 36(a) may form the basis for the granting of a motion for summary judgment. First

Nat’l Bank Co. of Clinton, Ill. v. Ins. Co. Of N. Am., 606 F.2d 760, 766 (7th Cir. 1979); Dukes v.

South Carolina Ins. Co., 770 F.2d 545, 548-49 (5th Cir. 1985).

       Nevertheless, the Court "in its discretion, may permit the filing of an answer that would

otherwise be untimely." Gutting v. Falstaff Brewing Corp., 710 F.2d 1309, 1312 (8th Cir. 1983);

Moosman v. Joseph P. Blitz, Inc., 358 F.2d 686, 688 (2d Cir. 1966); Pleasant Hill Bank v. United

States, 60 F.R.D. 1, 2-3 (W.D. Mo. 1973); 8 Charles A. Wright & Arthur R. Miller, Federal Practice

and Procedure § 2257, at 719-20 (1970); see also Flohr v. Pennsylvania Power & Light Co., 821

F.Supp. 301, 306 (E.D. Pa.1993); White Consol. Indus. Inc. v. Waterhouse, 158 F.R.D. 429, 431-33

(D. Minn. 1994). Therefore, "the failure to respond in a timely fashion does not require the Court

automatically to deem all matters admitted." Gutting v. Falstaff Brewing Corp., supra at 1312. "It

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does not further the interests of justice to automatically determine all the issues in a lawsuit and enter

summary judgment against a party because a deadline is missed." Hadra v. Herman Blum Consulting

Engineers, 74 F.R.D. 113, 114 (N.D. Tex. 1977)(finding that the Court “must strike a balance

between the interests of justice and diligence in litigation.”); Pickens v. Equitable Life Assurance

Society, 413 F.2d 1390, 1394 (5th Cir.1969) (holding that where failure to reply to request for

admissions is “clearly inadvertent,” policy is “to favor substantial justice over technical contentions”)

        In the Gutting case, the Court found that the underlying rational for a less than draconian

enforcement of Rule 36 was the express allowance in the Rule that a Court could permit a period

longer than 30 days to respond, as well as the following language of Rule 36(b):


        Any matter admitted under this rule is conclusively established unless the court on
        motion permits withdrawal or amendment of the admission. Subject to the
        provision of Rule 16 governing amendment of a pretrial order, the Court may
        permit withdrawal or amendment when the presentation of the merits of the action
        will be subserved thereby and the party who obtained that admission fails to
        satisfy the court that withdrawal or amendment will prejudice that party in
        maintaining the action or defense on the merits.


Fed. R. Civ. P. 36(b)(emphasis added); Gutting, 710 F.2d 1309, 1313. As stated in Gutting, "a late

response [is] equivalent to a withdrawal of an admission." Id. at 1313; see also Pleasant Hill Bank,

60 F.R.D. at 3. Therefore, the test for allowing withdrawal of admissions rests upon the showing

of prejudice to the requesting party, and any disservice to the presentation of the truth at trial, if the

requests are deemed admitted. The same criteria are applicable in determining the allowability of

late responses to requests for admissions. Gutting v. Falstaff Brewing Corp., supra at 1313; Smith

v. First National Bank of Atlanta, 837 F.2d 1575, 1577 (11th Cir. 1988), cert. denied, 488 U.S. 821,

109 S.Ct. 64, 102 L.Ed.2d 41 (1988) (Rule 36(b) test "properly applied"); Herrin v. Blackman, 89


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F.R.D. 622, 624 (W.D. Tenn. 1981). In short, "the Court should normally permit untimely answers

when doing so would aid in the presentation of the merits of the action and would not prejudice the

party who made the requests." Flohr, 821 F.Supp. at 306.

        Applying these standards, the Court finds that Crussel’s untimely responses to Electrolux’s

Requests for Admissions should be construed as a withdrawal of her admissions, or a motion to

withdraw the same. Simply put, the prospect of deeming controverted facts or issues as having been

admitted is anathema to the ascertainment of the truth and the Court’s innate sense of justice. See

Manatt v. Union Pacific R. Co., 122 F.3d 514, 517 (8th Cir. 1997). Perhaps, in an appropriate case,

a total failure to respond to such requests will prejudice the requesting party at trial, but that is not

the situation before the Court. Electrolux has not argued prejudice in its pretrial motions, and aside

from their untimeliness, Crussel’s responses to the request for admissions could pose no surprise to

Electrolux. The Court finds this to be the case because Electrolux’s requested admissions amounted

to little more than a complete refutation of Plaintiff’s theory of recovery. The only change in trial

strategy Electrolux could argue is simply the prospect of facing trial at all, instead of defeating

Crussel’s claims by pretrial motion, which the Court refuses to find as a sufficient showing of

prejudice. In short, the Court will not subvert the search for the truth without compellingly evident

cause, and today refuses to do so merely to further rigid compliance with a procedural precept.

        Lastly, the Court would note that the "purpose of Rule 36 is to remove uncontested issues

and to prevent delay. When the issues going to the merits are contested and the late response does

not cause delay of a trial or prejudice to a litigant, there is no reason to refuse a late filing." Herrin

v. Blackman, 89 F.R.D. 622, 624 (W.D. Tenn. 1981). Here, Electrolux’s Requests for Admissions

sought to remove all of the issues of the case, including all contested issues. Accordingly, the Court

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must deny Defendant Electrolux’s Motion for Summary Judgment to the extent that it rests upon

Crussel’s failure to timely respond to Electrolux’s Requests for Admissions.

B. Proof of Causation

        Electrolux also seeks summary judgment based on Crussel’s purported “inability to establish

any causal link between the acts and/or omissions of Electrolux and the alleged injury.” However,

at this stage in the litigation, the Court must view the evidence and the inferences that may be

reasonably drawn from the evidence in the light most favorable to the nonmoving party. Enterprise

Bank, 92 F.3d at 747. Additionally, Electrolux offers nothing in the way of proof to support this

claim, other than the bald assertion that Crussel cannot establish causation. Because Electrolux bears

the burden of showing that there is no genuine issue of material fact and that it is entitled to judgment

as a matter of law, the Court finds that Electrolux has not properly supported its summary judgment

motion on this issue. Accordingly, the Court must deny the motion to the extent that it seeks

summary judgment based on Crussel’s alleged inability to prove proximate cause.

                             IV. PLAINTIFF’S MOTION TO STRIKE


        Plaintiff Deshanda Crussel also moves to strike Defendant Electrolux’s Requests for

Admissions as improper under United States District Court for the Western District of Arkansas

Local Rule 33.1(c). Local Rule 33.1 provides, in pertinent part: “Requests for Admissions will not

be combined with other discovery material or documents.” The Court disagrees with Crussel’s

plausible, but incorrect reading of Local Rule 33.1(c).

        As previously noted, Electrolux served on Crussel a set of discovery including: (1)

interrogatories, (2) requests for production of documents and (3) requests for admissions. (See Doc.


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33, Exhibit A1, pg. 5). The discovery requests came in a single mailing which included a cover letter

that clearly identified the discovery materials being served. The Court finds nothing improper about

Electrolux’s combining of discovery requests into a single transmission, and agrees with Electrolux

that Crussel has simply misinterpreted Local Rule 33.1(c). As a result, the Court must deny

Crussel’s First Motion to Strike Defendant’s Requests for Admissions.

                                        V. CONCLUSION


       For the reasons stated herein and above, Defendant Electrolux’s Motion for Summary

Judgment should be and hereby is DENIED IN PART. To the extent the summary judgment

motion rests upon the failure of Plaintiff to respond to Defendant’s Requests for Admissions and

Plaintiff’s purported inability to present evidence of causation, the motion is hereby DENIED. The

remainder of the summary judgment motion will be considered when the Court rules on Defendant’s

Motion to Dismiss.

       Additionally, Plaintiff Deshanda Crussel’s First Motion to Strike Defendant’s Requests for

Admissions should be and hereby is DENIED. However, Plaintiff is hereby deemed to have

withdrawn her admissions to Electrolux’s Requests for Admissions.

       IT IS SO ORDERED, this 2nd day of April, 2007.


                                                              /s/Harry F. Barnes
                                                       Hon. Harry F. Barnes
                                                       United States District Judge




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